                                                            Case 3:16-cv-00885-AVC         Document
                                                                              Montague v. Yale                     89-2 Filed
                                                                                               Univ., et al., No. 3:16‐cv‐00885          05/16/17 Page 1 of 13
                                                                                                                                (AVC)(D. Conn.)
                                                                                             Production YALE005 (Gleason, Killheffer, Post, Berkman and Menon Supplemental)
                                                                                                                        Privilege/Redaction Log

           A              B            C              D                       E              F                            G                                                H                                              I                                   J                      K
1      BegControl    Begin Bates    End Bates        Type         Email Subject / Title    Date                    Author / Sender                                    Recipient(s)                                  Designation                          Description              Action
                                                                                                                                                   "Gleason, Angela" <angela.gleason@yale.edu>,
                                                                                                                                                   "Spangler, Stephanie"
                                                                                                                                                   <stephanie.spangler@yale.edu>, "Killheffer,
                                                                                                                                                   Jason" <jason.killheffer@yale.edu>, "Sawyer,
                                              RFC822 Email                                                                                         Susan" <susan.sawyer@yale.edu>,                                                            Confidential student information
2 DOCID000001798    YALE00015947 YALE00015948 Message          updates                    11/6/2015 "David M. Post" <david.post@yale.edu>          alice.menon@yale.edu                             FERPA; confidential student information   redacted                         Redacted
                                              RFC822 Email                                                                                                                                          Privileged; FERPA; confidential student   Legal advice and confidential
3 DOCID000001799    YALE00015949 YALE00015950 Message          updates                    11/6/2015 "Sawyer, Susan" <susan.sawyer@yale.edu>        "Gleason, Angela" <angela.gleason@yale.edu>      information                               student information redacted     Redacted
                                                                                                                                                                                                                                              Request for legal advice, legal
                                              RFC822 Email                                                                                                                                          Privileged; FERPA; confidential student   advice, and confidential student
4 DOCID000001800    YALE00015951 YALE00015952 Message          updates                    11/6/2015 "Sawyer, Susan" <susan.sawyer@yale.edu>        "Gleason, Angela" <angela.gleason@yale.edu>      information                               information redacted               Redacted

                                                                                                    "Gleason, Angela" <"/o=yale
                                                                                                    university/ou=exchange administrative group                                                                                               Request for legal advice, legal
                                              Microsoft                                             (fydibohf23spdlt)/cn=recipients/cn=angela.glea                                                  Privileged; FERPA; confidential student   advice, and confidential student
5 DOCID000002677    YALE00015953 YALE00015954 Outlook Note     Re: updates                11/6/2015 son">                                          "Sawyer, Susan" <susan.sawyer@yale.edu>          information                               information redacted               Redacted

                                                                                                    "Gleason, Angela" <"/o=yale
                                                                                                    university/ou=exchange administrative group                                                                                               Request for legal advice, legal
                                              Microsoft                                             (fydibohf23spdlt)/cn=recipients/cn=angela.glea                                                  Privileged; FERPA; confidential student   advice, and confidential student
6 DOCID000002678    YALE00015955 YALE00015956 Outlook Note     Re: updates                11/6/2015 son">                                          "Sawyer, Susan" <susan.sawyer@yale.edu>          information                               information redacted               Redacted
                                                                                                                                                   "Spangler, Stephanie"
                                                                                                    "Gleason, Angela" <"/o=yale                    <stephanie.spangler@yale.edu>, "Killheffer,
                                                                                                    university/ou=exchange administrative group Jason" <jason.killheffer@yale.edu>, "Sawyer,
                                              Microsoft                                             (fydibohf23spdlt)/cn=recipients/cn=angela.glea Susan" <susan.sawyer@yale.edu>,                                                            Confidential student information
7 DOCID000002679    YALE00015957 YALE00015957 Outlook Note     updates                    11/6/2015 son">                                          alice.menon@yale.edu, david.post@yale.edu        FERPA; confidential student information   redacted                         Redacted
                                                                                                                                                                                                                                              Request for legal advice, legal
                                              Microsoft                                                                                                                                             Privileged; FERPA; confidential student   advice, and confidential student
8 DOCID000003571    YALE00015958 YALE00015959 Outlook Note     Re: updates                11/6/2015 "Sawyer, Susan" <susan.sawyer@yale.edu>        "Gleason, Angela" <angela.gleason@yale.edu>      information                               information redacted             Redacted
                                                                                                                                                                                                                                              Request for legal advice, legal
                                              Microsoft                                                                                                                                             Privileged; FERPA; confidential student   advice, and confidential student
9 DOCID000003572    YALE00015960 YALE00015961 Outlook Note     Re: updates                11/6/2015 "Sawyer, Susan" <susan.sawyer@yale.edu>        "Gleason, Angela" <angela.gleason@yale.edu>      information                               information redacted             Redacted
                                                                                                                                                                                                                                              Comunication between client and
                                              Portable                                                                                                                                                                                        lawyer re UWC II proceeding and
                                              Document         Angela Gleason's                                                                                                                     Privileged; FERPA; confidential student   confidential student information
10 DOCID000004691   YALE00000841 YALE00000847 Format           handwritten notes     Various     Angela Gleason                                    n/a                                              information                               redacted                         Redacted
                                              Microsoft 2007   Descriptive Summaries
                                              Word             of Formal UWC                                                                                                                                                                  Confidential student information
11 DOCID000005291   YALE00015969 YALE00015970 Document         Complaints              7/14/2016 Aley Menon                                        Jason Killheffer                                 FERPA; confidential student information   redacted                         Redacted

                                                                                                                                                   "Menon, Alice" <aley.menon@yale.edu>, "David
                                                                                                                                                   M. Post" <david.post@yale.edu>, "Killheffer,
                                                Microsoft                                           "Spangler, Stephanie"                          Jason" <jason.killheffer@yale.edu>, "Spangler,                                             Email conveying attorney work
12 DOCID000005491                               Outlook Note   Edited Letter              3/18/2016 <stephanie.spangler@yale.edu>                  Stephanie" <stephanie.spangler@yale.edu>         Privileged                                product withheld                   Withheld

                                                                                                                                                   "Menon, Alice" <aley.menon@yale.edu>, "David
                                                Microsoft 2007                                                                                     M. Post" <david.post@yale.edu>, "Killheffer,
                                                Word                                                                                               Jason" <jason.killheffer@yale.edu>, "Spangler,
13 DOCID000005492                               Document       Draft letter               3/18/2016 Eileen O'Connor with Harold Rose comments      Stephanie" <stephanie.spangler@yale.edu>         Privileged                                Attorney work product withhheld Withheld
                                                                                                                                                   "Spangler, Stephanie"
                                                                                                                                                   <stephanie.spangler@yale.edu>, "Menon, Alice"
                                                Microsoft                                                                                          <aley.menon@yale.edu>, "Killheffer, Jason"                                                 Email conveying attorney work
14 DOCID000005493                               Outlook Note   Re: Edited Letter          3/18/2016 "David M. Post" <david.post@yale.edu>          <jason.killheffer@yale.edu>                      Privileged                                product withheld                   Withheld
                                                                                                                                                   "Spangler, Stephanie"
                                                Microsoft 2007                                                                                     <stephanie.spangler@yale.edu>, "Menon, Alice"
                                                Word                                                                                               <aley.menon@yale.edu>, "Killheffer, Jason"
15 DOCID000005494                               Document       Draft letter               3/18/2016 Eileen O'Connor with Harold Rose comments      <jason.killheffer@yale.edu>                      Privileged                                Attorney work product withheld     Withheld
                                                           Case 3:16-cv-00885-AVC Document 89-2 Filed 05/16/17 Page 2 of 13

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                                                                                                                                            "O'Connor, Eileen" <eileen.oconnor@yale.edu>,
                                                                                                                                            "Rose, Harold" <harold.rose@yale.edu>, "Dreier,
                                                                                                                                            Alexander" <alexander.dreier@yale.edu>,
                                                                                                                                            "Conroy, Thomas" <tom.conroy@yale.edu>,
                                               Microsoft      EDITED letter to                  "Spangler, Stephanie"                       "Spangler, Stephanie"                                                                       Email conveying attorney work
16 DOCID000005495                              Outlook Note   Corporation             3/18/2016 <stephanie.spangler@yale.edu>               <stephanie.spangler@yale.edu>                     Privileged                                product withheld                   Withheld
                                                                                                                                            "O'Connor, Eileen" <eileen.oconnor@yale.edu>,
                                                                                                                                            "Rose, Harold" <harold.rose@yale.edu>, "Dreier,
                                                                                                                                            Alexander" <alexander.dreier@yale.edu>,
                                               Microsoft 2007                                                                               "Conroy, Thomas" <tom.conroy@yale.edu>,
                                               Word                                                                                         "Spangler, Stephanie"
17 DOCID000005496                              Document       Draft letter            3/18/2016 Eileen O'Connor with Harold Rose comments   <stephanie.spangler@yale.edu>                     Privileged                                Attorney work product withheld     Withheld

                                                              RE: Confidential:                                                             "O'Connor, Eileen" <eileen.oconnor@yale.edu>,
                                               Microsoft      Montague Outline‐a                "Spangler, Stephanie"                       "Rose, Harold" <harold.rose@yale.edu>, "Conroy,                                             Email conveying attorney work
18 DOCID000005497                              Outlook Note   FEW more edits          3/18/2016 <stephanie.spangler@yale.edu>               Thomas" <tom.conroy@yale.edu>                   Privileged                                  product withheld                   Withheld
                                                                                                                                            "Spangler, Stephanie"
                                                                                                                                            <stephanie.spangler@yale.edu>, "Menon, Alice"
                                              Microsoft       RE: campus questions                                                          <aley.menon@yale.edu>, "Killheffer, Jason"
19 DOCID000005535   YALE00015984 YALE00015986 Outlook Note    and misinformation      3/14/2016 "Rose, Harold" <harold.rose@yale.edu>       <jason.killheffer@yale.edu>                       Privileged                                Legal advice redacted              Redacted


                                                                                                                                            "Boyd, Melanie" <melanie.boyd@yale.edu>,
                                                                                                                                            "O'Connor, Eileen" <eileen.oconnor@yale.edu>,
                                                                                                                                            "Spangler, Stephanie"
                                                                                                                                            <stephanie.spangler@yale.edu>, "Post, David"
                                                                                                                                            <david.post@yale.edu>, "Holloway, Jonathan"
                                                                                                                                            <jonathan.holloway@yale.edu>, "Killheffer, Jason"
                                                                                                                                            <jason.killheffer@yale.edu>, "Menon, Alice"
                                                                                                                                            <aley.menon@yale.edu>, "Conroy, Thomas"
                                              Microsoft       Re: campus questions                                                          <tom.conroy@yale.edu>, "Rose, Harold"
20 DOCID000005538   YALE00015989 YALE00015990 Outlook Note    and misinformation      3/14/2016 "Sawyer, Susan" <susan.sawyer@yale.edu>     <harold.rose@yale.edu>                            Privileged                                Legal advice redacted              Redacted

                                              Microsoft       FW: sexual misconduct             "Spangler, Stephanie"                                                                                                                   Request for legal advice and legal
21 DOCID000005560   YALE00016001 YALE00016003 Outlook Note    procedures ...          3/16/2016 <stephanie.spangler@yale.edu>               "Killheffer, Jason" <jason.killheffer@yale.edu>   Privileged                                advice redacted                    Redacted


                                                                                                                                            "Rose, Harold" <harold.rose@yale.edu>, "Conroy,
                                                                                                                                            Thomas" <tom.conroy@yale.edu>, "O'Connor,
                                                                                                                                            Eileen" <eileen.oconnor@yale.edu>, "Spangler,
                                              Microsoft       RE: sexual misconduct             "Spangler, Stephanie"                       Stephanie" <stephanie.spangler@yale.edu>,                                                   Request for legal advice and legal
22 DOCID000005561   YALE00016004 YALE00016007 Outlook Note    procedures ...          3/16/2016 <stephanie.spangler@yale.edu>               "Killheffer, Jason" <jason.killheffer@yale.edu> Privileged                                  advice redacted                    Redacted
                                                                                                                                            "Spangler, Stephanie"
                                                                                                                                            <stephanie.spangler@yale.edu>, "Rose, Harold"
                                                                                                                                            <harold.rose@yale.edu>, "O'Connor, Eileen"
                                              Microsoft       Re: sexual misconduct                                                         <eileen.oconnor@yale.edu>, "Killheffer, Jason"                                              Request for legal advice and legal
23 DOCID000005562   YALE00016008 YALE00016011 Outlook Note    procedures ...          3/16/2016 "Conroy, Thomas" <tom.conroy@yale.edu>      <jason.killheffer@yale.edu>                       Privileged                                advice redacted                    Redacted
                                                                                                                                                                                                                                        Attorney work product, attorney
                                                                                                                                            "Rose, Harold" <harold.rose@yale.edu>, "Sawyer,                                             request for information re UWC
                                               Microsoft      Re: Confidential:                                                             Susan" <susan.sawyer@yale.edu>, "Killheffer,                                                cases, and client response
24 DOCID000005565                              Outlook Note   Results and Training    3/13/2016 "Menon, Alice" <aley.menon@yale.edu>        Jason" <jason.killheffer@yale.edu>              Privileged                                  withheld                           Withheld
                                                                                                                                                                                                                                        Information re UWC cases
                                               Microsoft 2007                                                                                                                                                                           requested by attorney and
                                               Word                                                                                                                                           Privileged; FERPA; confidential student   confidential student information
25 DOCID000005566                              Document       UWC Penalty Report      3/13/2016 Alice Menon                                 Harold Rose, Susan Sawyer, Jason Killheffer       information                               withheld                           Withheld
                                                          Case 3:16-cv-00885-AVC Document 89-2 Filed 05/16/17 Page 3 of 13

          A              B             C             D                     E             F                            G                                                H                                      I                   J                     K
                                                                                                                                            "O'Connor, Eileen" <eileen.oconnor@yale.edu>,
                                                                                                                                            "Sawyer, Susan" <susan.sawyer@yale.edu>,
                                                                                                                                            "Spangler, Stephanie"
                                                                                                                                            <stephanie.spangler@yale.edu>, "Killheffer,
                                                                                                                                            Jason" <jason.killheffer@yale.edu>, "Rose, Harold"
                                              Microsoft       Re: John Walters,                                                             <harold.rose@yale.edu>, "Conroy, Thomas"
26 DOCID000005568   YALE00016012 YALE00016013 Outlook Note    Newsweek                3/12/2016 "Gleason, Angela" <angela.gleason@yale.edu> <tom.conroy@yale.edu>                              Privileged         Legal advice redacted             Redacted
                                                                                                                                            "Sawyer, Susan" <susan.sawyer@yale.edu>,
                                                                                                                                            "Spangler, Stephanie"
                                                                                                                                            <stephanie.spangler@yale.edu>, "Killheffer,
                                                                                                                                            Jason" <jason.killheffer@yale.edu>, "Rose, Harold"
                                                                                                                                            <harold.rose@yale.edu>, "Conroy, Thomas"
                                              Microsoft       Re: John Walters,                                                             <tom.conroy@yale.edu>, "O'Connor, Eileen"
27 DOCID000005569   YALE00016014 YALE00016015 Outlook Note    Newsweek                3/12/2016 "Gleason, Angela" <angela.gleason@yale.edu> <eileen.oconnor@yale.edu>                          Privileged         Legal advice redacted             Redacted
                                                                                                                                              "Sawyer, Susan" <susan.sawyer@yale.edu>,
                                                                                                                                              "Killheffer, Jason" <jason.killheffer@yale.edu>,
                                               Microsoft                                                                                      "Spangler, Stephanie"                                               Request for legal advice and legal
28 DOCID000005581                              Outlook Note   Re: CNN article         3/10/2016 "David M. Post" <david.post@yale.edu>         <stephanie.spangler@yale.edu>                      Privileged       advice re CNN article withheld     Withheld
                                                                                                                                              "Killheffer, Jason" <jason.killheffer@yale.edu>,
                                                                                                                                              "David M. Post" <david.post@yale.edu>,
                                               Microsoft                                                                                      "Spangler, Stephanie"                                               Request for legal advice and legal
29 DOCID000005582                              Outlook Note   Re: CNN article         3/10/2016 "Sawyer, Susan" <susan.sawyer@yale.edu>       <stephanie.spangler@yale.edu>                      Privileged       advice re CNN article withheld     Withheld
                                                                                                                                              "Spangler, Stephanie"
                                                              Re: New York Times                                                              <stephanie.spangler@yale.edu>, "Sawyer, Susan"
                                               Microsoft      story‐JUST for Susan‐             "Dreier, Alexander"                           <susan.sawyer@yale.edu>, "Killheffer, Jason"                        Request for legal advice and legal
30 DOCID000005612                              Outlook Note   Alex                     3/5/2016 <alexander.dreier@yale.edu>                   <jason.killheffer@yale.edu>                    Privileged           advice re NYT article withheld     Withheld
                                                                                                                                              "O'Connor, Eileen" <eileen.oconnor@yale.edu>,
                                                                                                                                              "Sawyer, Susan" <susan.sawyer@yale.edu>,
                                                                                                                                              "Conroy, Thomas" <tom.conroy@yale.edu>,
                                                                                                                                              "Holloway, Jonathan"
                                                                                                                                              <jonathan.holloway@yale.edu>, "Dreier,
                                                                                                                                              Alexander" <alexander.dreier@yale.edu>,
                                                                                                                                              "Killheffer, Jason" <jason.killheffer@yale.edu>,
                                               Microsoft      RE: New York Times                "Spangler, Stephanie"                         "Spangler, Stephanie"                                               Request for legal advice and legal
31 DOCID000005614                              Outlook Note   story                    3/5/2016 <stephanie.spangler@yale.edu>                 <stephanie.spangler@yale.edu>                      Privileged       advice re NYT article withheld     Withheld
                                                                                                                                              "Spangler, Stephanie"
                                                              Re: New York Times                                                              <stephanie.spangler@yale.edu>, "Dreier,
                                               Microsoft      story‐JUST for Susan‐                                                           Alexander" <alexander.dreier@yale.edu>,                             Request for legal advice and legal
32 DOCID000005615                              Outlook Note   Alex                     3/5/2016 "Sawyer, Susan" <susan.sawyer@yale.edu>       "Killheffer, Jason" <jason.killheffer@yale.edu>    Privileged       advice re NYT article withheld     Withheld
                                                                                                                                              "Sawyer, Susan" <susan.sawyer@yale.edu>,
                                                                                                                                              "Dreier, Alexander" <alexander.dreier@yale.edu>,
                                                              FW: New York Times                                                              "Spangler, Stephanie"
                                               Microsoft      story‐JUST for Susan‐             "Spangler, Stephanie"                         <stephanie.spangler@yale.edu>, "Killheffer,                         Request for legal advice and legal
33 DOCID000005616                              Outlook Note   Alex                     3/5/2016 <stephanie.spangler@yale.edu>                 Jason" <jason.killheffer@yale.edu>               Privileged         advice re NYT article withheld     Withheld
                                                                                                                                              "O'Connor, Eileen" <eileen.oconnor@yale.edu>,
                                                                                                                                              "Sawyer, Susan" <susan.sawyer@yale.edu>,
                                                                                                                                              "Conroy, Thomas" <tom.conroy@yale.edu>,
                                                                                                                                              "Killheffer, Jason" <jason.killheffer@yale.edu>,
                                              Microsoft                                         "Spangler, Stephanie"                         "Spangler, Stephanie"                                               Request for legal advice and legal
34 DOCID000005629   YALE00016039 YALE00016043 Outlook Note    RE: Update               3/2/2016 <stephanie.spangler@yale.edu>                 <stephanie.spangler@yale.edu>                      Privileged       advice redacted                    Redacted
                                                                                                                                             "Sawyer, Susan" <susan.sawyer@yale.edu>,
                                                                                                                                             "Conroy, Thomas" <tom.conroy@yale.edu>,
                                                                                                                                             "Spangler, Stephanie"
                                              Microsoft                                                                                      <stephanie.spangler@yale.edu>, "Killheffer,                          Request for legal advice and legal
35 DOCID000005630   YALE00016044 YALE00016047 Outlook Note    Re: Update               3/2/2016 "O'Connor, Eileen" <eileen.oconnor@yale.edu> Jason" <jason.killheffer@yale.edu>                  Privileged       advice redacted                    Redacted
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                                                                                                                                               "Sawyer, Susan" <susan.sawyer@yale.edu>,
                                                                                                                                               "Conroy, Thomas" <tom.conroy@yale.edu>,
                                                                                                                                               "Spangler, Stephanie"
                                              Microsoft                                                                                        <stephanie.spangler@yale.edu>, "Killheffer,                                                    Request for legal advice and legal
36 DOCID000005635   YALE00016048 YALE00016051 Outlook Note    Re: Update                 3/2/2016 "O'Connor, Eileen" <eileen.oconnor@yale.edu> Jason" <jason.killheffer@yale.edu>                   Privileged                                advice redacted                    Redacted
                                              Microsoft                                                                                        "Killheffer, Jason" <jason.killheffer@yale.edu>,                                               Request for legal advice and legal
37 DOCID000005636   YALE00016052 YALE00016055 Outlook Note    Re: Update                 3/2/2016 "Gleason, Angela" <angela.gleason@yale.edu> "Sawyer, Susan" <susan.sawyer@yale.edu>               Privileged                                advice redacted                    Redacted
                                              Microsoft                                                                                        "Killheffer, Jason" <jason.killheffer@yale.edu>,                                               Request for legal advice and legal
38 DOCID000005637   YALE00016056 YALE00016059 Outlook Note    FW: Update                 3/2/2016 "Gleason, Angela" <angela.gleason@yale.edu> "Sawyer, Susan" <susan.sawyer@yale.edu>               Privileged                                advice redacted                    Redacted
                                                                                                                                              "Sawyer, Susan" <susan.sawyer@yale.edu>,
                                                                                                                                              "Spangler, Stephanie"
                                                                                                                                              <stephanie.spangler@yale.edu>, "Killheffer,
                                              Microsoft                                                                                       Jason" <jason.killheffer@yale.edu>, "Conroy,                                                    Request for legal advice and legal
39 DOCID000005639   YALE00016060 YALE00016062 Outlook Note    RE: Update                 3/2/2016 "Gleason, Angela" <angela.gleason@yale.edu> Thomas" <tom.conroy@yale.edu>                         Privileged                                advice redacted                    Redacted
                                                                                                                                              "Spangler, Stephanie"
                                                                                                                                              <stephanie.spangler@yale.edu>, "Sawyer, Susan"
                                                                                                                                              <susan.sawyer@yale.edu>, "Killheffer, Jason"
                                              Microsoft                                                                                       <jason.killheffer@yale.edu>, "Conroy, Thomas"                                                   Request for legal advice and legal
40 DOCID000005642   YALE00016065 YALE00016067 Outlook Note    RE: Update                 3/1/2016 "Gleason, Angela" <angela.gleason@yale.edu> <tom.conroy@yale.edu>                          Privileged                                       advice redacted                    Redacted
                                                                                                                                                 "Spangler, Stephanie"
                                                                                                                                                 <stephanie.spangler@yale.edu>, "Boyd, Melanie"
                                                                                                                                                 <melanie.boyd@yale.edu>, "Conroy, Thomas"
                                                                                                                                                 <tom.conroy@yale.edu>, "Killheffer, Jason"
                                                                                                                                                 <jason.killheffer@yale.edu>, "Hendel, Caroline"
                                                                                                                                                 <caroline.hendel@yale.edu>, "David M. Post"
                                              Microsoft       Re: Jezebel.com inquiry                                                            <david.post@yale.edu>, "O'Connor, Eileen"                                                    Request for legal advice and legal
41 DOCID000005647   YALE00016076 YALE00016078 Outlook Note    (urgent)                   3/1/2016 "Sawyer, Susan" <susan.sawyer@yale.edu>        <eileen.oconnor@yale.edu>                       Privileged                                   advice redacted                    Redacted
                                                                                                                                                 "Boyd, Melanie" <melanie.boyd@yale.edu>,
                                                                                                                                                 "Sawyer, Susan" <susan.sawyer@yale.edu>,
                                                                                                                                                 "Conroy, Thomas" <tom.conroy@yale.edu>,
                                                                                                                                                 "Killheffer, Jason" <jason.killheffer@yale.edu>,
                                                                                                                                                 "Hendel, Caroline" <caroline.hendel@yale.edu>,
                                                                                                                                                 "David M. Post" <david.post@yale.edu>,
                                                                                                                                                 "O'Connor, Eileen" <eileen.oconnor@yale.edu>,
                                              Microsoft       RE: Jezebel.com inquiry             "Spangler, Stephanie"                          "Spangler, Stephanie"
42 DOCID000005649   YALE00016079 YALE00016080 Outlook Note    (urgent)                   3/1/2016 <stephanie.spangler@yale.edu>                  <stephanie.spangler@yale.edu>                      Privileged                                Request for legal advice redacted Redacted
                                                                                                                                                 "Boyd, Melanie" <melanie.boyd@yale.edu>,
                                                                                                                                                 "Spangler, Stephanie"
                                                                                                                                                 <stephanie.spangler@yale.edu>, "O'Connor,
                                                                                                                                                 Eileen" <eileen.oconnor@yale.edu>, "Conroy,
                                                                                                                                                 Thomas" <tom.conroy@yale.edu>, "Killheffer,
                                                                                                                                                 Jason" <jason.killheffer@yale.edu>, "Hendel,
                                              Microsoft       Re: Jezebel.com inquiry                                                            Caroline" <caroline.hendel@yale.edu>, "Post,
43 DOCID000005653   YALE00016086 YALE00016087 Outlook Note    (urgent)                   3/1/2016 "Sawyer, Susan" <susan.sawyer@yale.edu>        David" <david.post@yale.edu>                       Privileged                                Legal advice redacted            Redacted
                                                                                                                                              "Spangler, Stephanie"
                                                                                                                                              <stephanie.spangler@yale.edu>, "Killheffer,
                                                                                                                                              Jason" <jason.killheffer@yale.edu>, "Sawyer,
                                              Microsoft                                                                                       Susan" <susan.sawyer@yale.edu>,                                                                 Confidential student information
44 DOCID000006257   YALE00016089 YALE00016089 Outlook Note    updates                   11/6/2015 "Gleason, Angela" <angela.gleason@yale.edu> alice.menon@yale.edu, david.post@yale.edu             FERPA; confidential student information   redacted                         Redacted

                                                                                                  "Killheffer, Jason" <"/o=yale
                                                              RE: Time Pressured                  university/ou=exchange administrative group "Spangler, Stephanie"
                                               Microsoft      Highly Confidential:                (fydibohf23spdlt)/cn=recipients/cn=jason.killhef <stephanie.spangler@yale.edu>, "David M. Post"                                             Email conveying attorney work
45 DOCID000006892                              Outlook Note   Montague Outline          3/18/2016 fer">                                            <david.post@yale.edu>                          Privileged                                  product withheld                 Withheld

                                                                                                  "Killheffer, Jason" <"/o=yale
                                                                                                  university/ou=exchange administrative group
                                               Microsoft      FW: Confidential:                   (fydibohf23spdlt)/cn=recipients/cn=jason.killhef "Spangler, Stephanie"                                                                      Email conveying attorney work
46 DOCID000006894                              Outlook Note   Montague Outline          3/18/2016 fer">                                            <stephanie.spangler@yale.edu>                    Privileged                                product withheld                 Withheld
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          A              B             C             D                     E            F                             G                                                 H                                       I                    J                       K
                                                                                                                                                "Sawyer, Susan" <susan.sawyer@yale.edu>,
                                                                                               "Killheffer, Jason" <"/o=yale                    "Gleason, Angela" <angela.gleason@yale.edu>,
                                                                                               university/ou=exchange administrative group "Spangler, Stephanie"
                                              Microsoft                                        (fydibohf23spdlt)/cn=recipients/cn=jason.killhef <stephanie.spangler@yale.edu>, "Rose, Harold"
47 DOCID000006900   YALE00016099 YALE00016100 Outlook Note    Re: YDN Inquiry        3/14/2016 fer">                                            <harold.rose@yale.edu>                             Privileged       Legal advice redacted                Redacted
                                                                                                                                                "Sawyer, Susan" <susan.sawyer@yale.edu>,
                                                                                               "Killheffer, Jason" <"/o=yale                    "Gleason, Angela" <angela.gleason@yale.edu>,
                                                                                               university/ou=exchange administrative group "Spangler, Stephanie"
                                              Microsoft                                        (fydibohf23spdlt)/cn=recipients/cn=jason.killhef <stephanie.spangler@yale.edu>, "Conroy,                             Request for legal advice and legal
48 DOCID000006925   YALE00016106 YALE00016109 Outlook Note    RE: Update              3/2/2016 fer">                                            Thomas" <tom.conroy@yale.edu>                      Privileged       advice redacted                    Redacted

                                                                                               "Killheffer, Jason" <"/o=yale
                                                                                               university/ou=exchange administrative group
                                              Microsoft                                        (fydibohf23spdlt)/cn=recipients/cn=jason.killhef "Gleason, Angela" <angela.gleason@yale.edu>,                        Request for legal advice and legal
49 DOCID000006926   YALE00016110 YALE00016113 Outlook Note    Re: Update              3/2/2016 fer">                                            "Sawyer, Susan" <susan.sawyer@yale.edu>            Privileged       advice redacted                    Redacted
                                                                                                                                                  "Sawyer, Susan" <susan.sawyer@yale.edu>,
                                                                                               "Killheffer, Jason" <"/o=yale                      "O'Connor, Eileen" <eileen.oconnor@yale.edu>,
                                                                                               university/ou=exchange administrative group        "Conroy, Thomas" <tom.conroy@yale.edu>,
                                              Microsoft                                        (fydibohf23spdlt)/cn=recipients/cn=jason.killhef   "Spangler, Stephanie"                                             Request for legal advice and legal
50 DOCID000006927   YALE00016114 YALE00016118 Outlook Note    Re: Update              3/2/2016 fer">                                              <stephanie.spangler@yale.edu>                    Privileged       advice redacted                    Redacted
                                              Microsoft       Re: Confidential ‐‐                                                                 "Sawyer, Susan" <susan.sawyer@yale.edu>,                          Request for legal advice and legal
51 DOCID000009282                             Outlook Note    Montague report         1/7/2016 "David M. Post" <david.post@yale.edu>              "Menon, Alice" <aley.menon@yale.edu>             Privileged       advice withheld                    Withheld

                                                                                                                                                  Miriam Berkman <mberkman900@gmail.com>,
                                                                                                                                                  "Menon, Alice" <aley.menon@yale.edu>, "Sawyer,
                                               Microsoft      Re: Confidential ‐‐                                                                 Susan" <susan.sawyer@yale.edu>, "Danilowitz,
52 DOCID000009283                              Outlook Note   Montague report         1/4/2016 "David M. Post" <david.post@yale.edu>              Ilana" <lani.danilowitz@yale.edu>,               Privileged       Request for legal advice withheld    Withheld
                                               Microsoft      Re: Confidential ‐‐                                                                 "Sawyer, Susan" <susan.sawyer@yale.edu>,                          Request for legal advice and legal
53 DOCID000009782                              Outlook Note   Montague report         1/7/2016 "Menon, Alice" <aley.menon@yale.edu>               "David M. Post" <david.post@yale.edu>,           Privileged       advice withheld                      Withheld
                                               Microsoft      Re: Confidential ‐‐                                                                 "Sawyer, Susan" <susan.sawyer@yale.edu>,                          Request for legal advice and legal
54 DOCID000009783                              Outlook Note   Montague report         1/7/2016 "Menon, Alice" <aley.menon@yale.edu>               "David M. Post" <david.post@yale.edu>,           Privileged       advice withheld                      Withheld
                                               Microsoft      Re: Confidential ‐‐                                                                 "Sawyer, Susan" <susan.sawyer@yale.edu>,                          Request for legal advice and legal
55 DOCID000009784                              Outlook Note   Montague report         1/7/2016 "Menon, Alice" <aley.menon@yale.edu>               "David M. Post" <david.post@yale.edu>,           Privileged       advice withheld                      Withheld
                                               Microsoft      Re: Confidential ‐‐                                                                 "Menon, Alice" <aley.menon@yale.edu>, "David                      Request for legal advice and legal
56 DOCID000010247                              Outlook Note   Montague report         1/7/2016 "Sawyer, Susan" <susan.sawyer@yale.edu>            M. Post" <david.post@yale.edu>,                  Privileged       advice withheld                      Withheld
                                               Microsoft      Re: Confidential ‐‐                                                                 "David M. Post" <david.post@yale.edu>, "Menon,                    Request for legal advice and legal
57 DOCID000010248                              Outlook Note   Montague report         1/7/2016 "Sawyer, Susan" <susan.sawyer@yale.edu>            Alice" <aley.menon@yale.edu>,                    Privileged       advice withheld                      Withheld
                                               Microsoft      Re: Confidential ‐‐                                                                 "David M. Post" <david.post@yale.edu>, "Menon,
58 DOCID000010249                              Outlook Note   Montague report         1/7/2016 "Sawyer, Susan" <susan.sawyer@yale.edu>            Alice" <aley.menon@yale.edu>                     Privileged       Request for legal advice withheld    Withheld
                                               Microsoft      Re: Confidential ‐‐                                                                 "Sawyer, Susan" <susan.sawyer@yale.edu>,                          Request for legal advice and legal
59 DOCID000010251                              Outlook Note   Montague report         1/6/2016 "David M. Post" <david.post@yale.edu>              "Menon, Alice" <aley.menon@yale.edu>             Privileged       advice withheld                      Withheld
                                               Microsoft      Re: Confidential ‐‐                                                                 "David M. Post" <david.post@yale.edu>, "Menon,                    Request for legal advice and legal
60 DOCID000010252                              Outlook Note   Montague report         1/5/2016 "Sawyer, Susan" <susan.sawyer@yale.edu>            Alice" <aley.menon@yale.edu>                     Privileged       advice withheld                      Withheld
                                               Microsoft      Re: Confidential ‐‐                                                                 "Sawyer, Susan" <susan.sawyer@yale.edu>,                          Request for legal advice and legal
61 DOCID000010253                              Outlook Note   Montague report         1/5/2016 "David M. Post" <david.post@yale.edu>              "Menon, Alice" <aley.menon@yale.edu>             Privileged       advice withheld                      Withheld
                                               Microsoft      Re: Confidential ‐‐                                                                 "David M. Post" <david.post@yale.edu>, "Menon,                    Request for legal advice and legal
62 DOCID000010254                              Outlook Note   Montague report         1/5/2016 "Sawyer, Susan" <susan.sawyer@yale.edu>            Alice" <aley.menon@yale.edu>                     Privileged       advice withheld                      Withheld
                                               Microsoft      Re: Confidential ‐‐                                                                 "Sawyer, Susan" <susan.sawyer@yale.edu>,
63 DOCID000010255                              Outlook Note   Montague report         1/5/2016 "David M. Post" <david.post@yale.edu>              "Menon, Alice" <aley.menon@yale.edu>             Privileged       Request for legal advice withheld Withheld
                                               Microsoft      Re: Confidential ‐‐                                                                 "David M. Post" <david.post@yale.edu>, "Menon,
64 DOCID000010257                              Outlook Note   Montague report         1/5/2016 "Sawyer, Susan" <susan.sawyer@yale.edu>            Alice" <aley.menon@yale.edu>                     Privileged       Request for legal advice withheld Withheld
                                               Microsoft      Re: Confidential ‐‐                                                                 "David M. Post" <david.post@yale.edu>, "Menon,
65 DOCID000010258                              Outlook Note   Montague report         1/5/2016 "Sawyer, Susan" <susan.sawyer@yale.edu>            Alice" <aley.menon@yale.edu>                     Privileged       Request for legal advice withheld Withheld
                                               Microsoft      Fwd: Confidential ‐‐                                                                "Menon, Alice" <aley.menon@yale.edu>, "Sawyer,
66 DOCID000010259                              Outlook Note   Montague report         1/4/2016 "David M. Post" <david.post@yale.edu>              Susan" <susan.sawyer@yale.edu>                   Privileged       Request for legal advice withheld Withheld
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                                                                                                                                    "Menon, Alice" <aley.menon@yale.edu>, David
                                                                                                                                    Post <david.post@yale.edu>, "Sawyer, Susan"
                                               Microsoft      Confidential ‐‐                                                       <susan.sawyer@yale.edu>, "Danilowitz, Ilana"
67 DOCID000010267                              Outlook Note   Montague report       1/4/2016 Miriam Berkman <mberkman900@gmail.com> <lani.danilowitz@yale.edu>,                          Privileged                                Request for legal advice withheld Withheld

                                                                                                                                       Miriam Berkman <mberkman900@gmail.com>,
                                                                                                                                       "Menon, Alice" <aley.menon@yale.edu>, "Sawyer,
                                               RFC822 Email   Confidential ‐‐                                                          Susan" <susan.sawyer@yale.edu>, "Danilowitz,
68 DOCID000010652                              Message        Montague report       1/4/2016 "David M. Post" <david.post@yale.edu>     Ilana" <lani.danilowitz@yale.edu>,             Privileged                                   Request for legal advice withheld Withheld
                                               RFC822 Email   Confidential ‐‐                                                          "Sawyer, Susan" <susan.sawyer@yale.edu>,
69 DOCID000010653                              Message        Montague report       1/7/2016 "David M. Post" <david.post@yale.edu>     "Menon, Alice" <aley.menon@yale.edu>           Privileged                                   Request for legal advice withheld Withheld

                                                                                                                                     "Menon, Alice" <aley.menon@yale.edu>, David
                                                                                                                                     Post <david.post@yale.edu>, "Sawyer, Susan"
                                              RFC822 Email    Confidential ‐‐                                                        <susan.sawyer@yale.edu>, "Danilowitz, Ilana"
70 DOCID000011648                             Message         Montague report       1/4/2016 Miriam Berkman <mberkman900@gmail.com> <lani.danilowitz@yale.edu>,                          Privileged                                Request for legal advice withheld Withheld
                                              RFC822 Email    Confidential ‐‐                                                        "Sawyer, Susan" <susan.sawyer@yale.edu>,
71 DOCID000011656                             Message         Montague report       1/5/2016 "David M. Post" <david.post@yale.edu>   "Menon, Alice" <aley.menon@yale.edu>                Privileged                                Request for legal advice withheld Withheld
                                              RFC822 Email    Confidential ‐‐                                                        "David M. Post" <david.post@yale.edu>, "Menon,
72 DOCID000011658                             Message         Montague report       1/5/2016 "Sawyer, Susan" <susan.sawyer@yale.edu> Alice" <aley.menon@yale.edu>                        Privileged                                Request for legal advice withheld Withheld
                                              RFC822 Email    Confidential ‐‐                                                        "David M. Post" <david.post@yale.edu>, "Menon,
73 DOCID000011659                             Message         Montague report       1/5/2016 "Sawyer, Susan" <susan.sawyer@yale.edu> Alice" <aley.menon@yale.edu>                        Privileged                                Request for legal advice withheld Withheld
                                              RFC822 Email    Confidential ‐‐                                                        "Menon, Alice" <aley.menon@yale.edu>, "Sawyer,
74 DOCID000011660                             Message         Montague report       1/4/2016 "David M. Post" <david.post@yale.edu>   Susan" <susan.sawyer@yale.edu>                      Privileged                                Request for legal advice withheld    Withheld
                                              RFC822 Email    Confidential ‐‐                                                        "David M. Post" <david.post@yale.edu>, "Menon,                                                Request for legal advice and legal
75 DOCID000011668                             Message         Montague report       1/5/2016 "Sawyer, Susan" <susan.sawyer@yale.edu> Alice" <aley.menon@yale.edu>                        Privileged                                advice withheld                      Withheld
                                              RFC822 Email    Confidential ‐‐                                                        "Sawyer, Susan" <susan.sawyer@yale.edu>,                                                      Request for legal advice and legal
76 DOCID000011669                             Message         Montague report       1/5/2016 "David M. Post" <david.post@yale.edu>   "Menon, Alice" <aley.menon@yale.edu>                Privileged                                advice withheld                      Withheld
                                              RFC822 Email    Confidential ‐‐                                                        "David M. Post" <david.post@yale.edu>, "Menon,                                                Request for legal advice and legal
77 DOCID000011670                             Message         Montague report       1/5/2016 "Sawyer, Susan" <susan.sawyer@yale.edu> Alice" <aley.menon@yale.edu>                        Privileged                                advice withheld                      Withheld
                                              RFC822 Email    Confidential ‐‐                                                        "David M. Post" <david.post@yale.edu>, "Menon,
78 DOCID000011671                             Message         Montague report       1/7/2016 "Sawyer, Susan" <susan.sawyer@yale.edu> Alice" <aley.menon@yale.edu>                        Privileged                                Request for legal advice withheld    Withheld
                                              RFC822 Email    Confidential ‐‐                                                        "David M. Post" <david.post@yale.edu>, "Menon,                                                Request for legal advice and legal
79 DOCID000011673                             Message         Montague report       1/7/2016 "Sawyer, Susan" <susan.sawyer@yale.edu> Alice" <aley.menon@yale.edu>,                       Privileged                                advice withheld                      Withheld
                                              RFC822 Email    Confidential ‐‐                                                        "Sawyer, Susan" <susan.sawyer@yale.edu>,                                                      Request for legal advice and legal
80 DOCID000011674                             Message         Montague report       1/6/2016 "David M. Post" <david.post@yale.edu>   "Menon, Alice" <aley.menon@yale.edu>                Privileged                                advice withheld                      Withheld
                                              RFC822 Email    Confidential ‐‐                                                        "Sawyer, Susan" <susan.sawyer@yale.edu>,                                                      Request for legal advice and legal
81 DOCID000011676                             Message         Montague report       1/7/2016 "Menon, Alice" <aley.menon@yale.edu>    "David M. Post" <david.post@yale.edu>,              Privileged                                advice withheld                      Withheld
                                              RFC822 Email    Confidential ‐‐                                                        "Sawyer, Susan" <susan.sawyer@yale.edu>,                                                      Request for legal advice and legal
82 DOCID000011677                             Message         Montague report       1/7/2016 "Menon, Alice" <aley.menon@yale.edu>    "David M. Post" <david.post@yale.edu>,              Privileged                                advice withheld                      Withheld
                                              RFC822 Email    Confidential ‐‐                                                        "Menon, Alice" <aley.menon@yale.edu>, "David                                                  Request for legal advice and legal
83 DOCID000011678                             Message         Montague report       1/7/2016 "Sawyer, Susan" <susan.sawyer@yale.edu> M. Post" <david.post@yale.edu>,                     Privileged                                advice withheld                      Withheld
                                              RFC822 Email    Confidential ‐‐                                                        "Sawyer, Susan" <susan.sawyer@yale.edu>,                                                      Request for legal advice and legal
84 DOCID000011679                             Message         Montague report       1/7/2016 "Menon, Alice" <aley.menon@yale.edu>    "David M. Post" <david.post@yale.edu>,              Privileged                                advice withheld                      Withheld
                                              RFC822 Email    CONFIDENTIAL: UWC                                                                                                                                                    Confidential student information
85 DOCID000011949   YALE00016513 YALE00016514 Message         Incident Summary      3/9/2016 "Menon, Alice" <aley.menon@yale.edu>      "Sawyer, Susan" <susan.sawyer@yale.edu>           FERPA; confidential student information   redacted                             Redacted
                                                              FW: Jack Montague:
                                              RFC822 Email    Complaint vs. Yale
86 DOCID000014159   YALE00016517 YALE00016519 Message         University            6/9/2016 "Sawyer, Susan" <susan.sawyer@yale.edu>   "David M. Post" <david.post@yale.edu>             Privileged                                Legal advice redacted                Redacted
                                                                                                                                       "O'Connor, Eileen" <eileen.oconnor@yale.edu>,
                                                                                                                                       "Rose, Harold" <harold.rose@yale.edu>, "Dreier,
                                                                                                                                       Alexander" <alexander.dreier@yale.edu>,
                                                                                                                                       "Conroy, Thomas" <tom.conroy@yale.edu>,
                                               RFC822 Email   EDITED letter to               "Spangler, Stephanie"                     "Spangler, Stephanie"                                                                       Email conveying attorney work
87 DOCID000014300                              Message        Corporation          3/18/2016 <stephanie.spangler@yale.edu>             <stephanie.spangler@yale.edu>,                    Privileged                                product withheld                     Withheld
                                        Case 3:16-cv-00885-AVC Document 89-2 Filed 05/16/17 Page 7 of 13

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                                                                                                                          "O'Connor, Eileen" <eileen.oconnor@yale.edu>,
                                                                                                                          "Rose, Harold" <harold.rose@yale.edu>, "Dreier,
                                                                                                                          Alexander" <alexander.dreier@yale.edu>,
                                                                                                                          "Conroy, Thomas" <tom.conroy@yale.edu>,
                            Microsoft      EDITED letter to                   "Spangler, Stephanie"                       "Spangler, Stephanie"                                               Email conveying attorney work
88 DOCID000014301           Outlook Note   Corporation              3/18/2016 <stephanie.spangler@yale.edu>               <stephanie.spangler@yale.edu>,                     Privileged       product withheld                 Withheld
                                                                                                                          "O'Connor, Eileen" <eileen.oconnor@yale.edu>,
                                                                                                                          "Rose, Harold" <harold.rose@yale.edu>, "Dreier,
                                                                                                                          Alexander" <alexander.dreier@yale.edu>,
                            Microsoft 2007                                                                                "Conroy, Thomas" <tom.conroy@yale.edu>,
                            Word                                                                                          "Spangler, Stephanie"
89 DOCID000014302           Document       Draft letter             3/18/2016 Eileen O'Connor with Harold Rose comments   <stephanie.spangler@yale.edu>,                     Privileged       Attorney work product withheld   Withheld

                                                                                                                          "Menon, Alice" <aley.menon@yale.edu>, "David
                            RFC822 Email   FW: URGENT: Need                   "Spangler, Stephanie"                       M. Post" <david.post@yale.edu>, "Spangler,                          Email conveying attorney work
90 DOCID000014306           Message        your approval            3/18/2016 <stephanie.spangler@yale.edu>               Stephanie" <stephanie.spangler@yale.edu>,          Privileged       product withheld                 Withheld

                                                                                                                          "Menon, Alice" <aley.menon@yale.edu>, "David
                            Microsoft      FW: URGENT: Need                   "Spangler, Stephanie"                       M. Post" <david.post@yale.edu>, "Spangler,                          Email conveying attorney work
91 DOCID000014307           Outlook Note   your approval            3/18/2016 <stephanie.spangler@yale.edu>               Stephanie" <stephanie.spangler@yale.edu>,          Privileged       product withheld                 Withheld

                            Microsoft 2007                                                                                "Menon, Alice" <aley.menon@yale.edu>, "David
                            Word                                                                                          M. Post" <david.post@yale.edu>, "Spangler,
92 DOCID000014308           Document       Draft letter             3/18/2016 Eileen O'Connor with Harold Rose comments   Stephanie" <stephanie.spangler@yale.edu>,          Privileged       Attorney work product withheld   Withheld


                                                                                                                          "Rose, Harold" <harold.rose@yale.edu>, "Dreier,
                                                                                                                          Alexander" <alexander.dreier@yale.edu>,
                                                                                                                          "O'Connor, Eileen" <eileen.oconnor@yale.edu>,
                                                                                                                          "Sawyer, Susan" <susan.sawyer@yale.edu>,
                                                                                                                          "Conroy, Thomas" <tom.conroy@yale.edu>, "Carr,
                            RFC822 Email   RE: Confidential:                  "Spangler, Stephanie"                       Cynthia" <cynthia.carr@yale.edu>, "Spangler,                        Email conveying attorney work
93 DOCID000014316           Message        Montague Outline         3/18/2016 <stephanie.spangler@yale.edu>               Stephanie" <stephanie.spangler@yale.edu>,       Privileged          product withheld                 Withheld


                                                                                                                          "Rose, Harold" <harold.rose@yale.edu>, "Dreier,
                                                                                                                          Alexander" <alexander.dreier@yale.edu>,
                                                                                                                          "O'Connor, Eileen" <eileen.oconnor@yale.edu>,
                                                                                                                          "Sawyer, Susan" <susan.sawyer@yale.edu>,
                                                                                                                          "Conroy, Thomas" <tom.conroy@yale.edu>, "Carr,
                            Microsoft      RE: Confidential:                  "Spangler, Stephanie"                       Cynthia" <cynthia.carr@yale.edu>, "Spangler,                        Email conveying attorney work
94 DOCID000014317           Outlook Note   Montague Outline         3/18/2016 <stephanie.spangler@yale.edu>               Stephanie" <stephanie.spangler@yale.edu>,       Privileged          product withheld                 Withheld
                                                                                                                          Dreier, Alexander <alexander.dreier@yale.edu>;
                                                                                                                          O'Connor, Eileen <eileen.oconnor@yale.edu>;
                                                                                                                          Spangler, Stephanie
                                                                                                                          <stephanie.spangler@yale.edu>; Sawyer, Susan
                            Microsoft 2007                                                                                <susan.sawyer@yale.edu>; Conroy, Thomas
                            Word                                                                                          <tom.conroy@yale.edu>; Carr, Cynthia
95 DOCID000014318           Document       Draft outline            3/18/2016 Rose, Harold                                <cynthia.carr@yale.edu>                            Privileged       Attorney work product withheld   Withheld
                                                                                                                          "Killheffer, Jason" <jason.killheffer@yale.edu>,
                                           Time Pressured Highly                                                          "David M. Post" <david.post@yale.edu>,
                            RFC822 Email   Confidential: Montague             "Spangler, Stephanie"                       "Spangler, Stephanie"                                               Email conveying attorney work
96 DOCID000014323           Message        Outline                  3/18/2016 <stephanie.spangler@yale.edu>               <stephanie.spangler@yale.edu>,                     Privileged       product withheld                 Withheld
                                                                                                                          "Killheffer, Jason" <jason.killheffer@yale.edu>,
                                           Time Pressured Highly                                                          "David M. Post" <david.post@yale.edu>,
                            Microsoft      Confidential: Montague             "Spangler, Stephanie"                       "Spangler, Stephanie"                                               Email conveying attorney work
97 DOCID000014324           Outlook Note   Outline                  3/18/2016 <stephanie.spangler@yale.edu>               <stephanie.spangler@yale.edu>,                     Privileged       product withheld                 Withheld
                                                            Case 3:16-cv-00885-AVC Document 89-2 Filed 05/16/17 Page 8 of 13

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                                                                                                                                                        Dreier, Alexander <alexander.dreier@yale.edu>;
                                                                                                                                                        O'Connor, Eileen <eileen.oconnor@yale.edu>;
                                                                                                                                                        Spangler, Stephanie
                                                                                                                                                        <stephanie.spangler@yale.edu>; Sawyer, Susan
                                                 Microsoft 2007                                                                                         <susan.sawyer@yale.edu>; Conroy, Thomas
                                                 Word                                                                                                   <tom.conroy@yale.edu>; Carr, Cynthia
98 DOCID000014325                                Document       Draft outline               3/18/2016 Rose, Harold                                      <cynthia.carr@yale.edu>                        Privileged         Attorney work product withheld   Withheld
                                                                RE: Time Pressured                                                                      "Spangler, Stephanie"
                                                 RFC822 Email Highly Confidential:                                                                      <stephanie.spangler@yale.edu>, "David M. Post"                    Email conveying attorney work
99 DOCID000014326                                Message        Montague Outline            3/18/2016 "Killheffer, Jason" <jason.killheffer@yale.edu>   <david.post@yale.edu>                          Privileged         product withheld                 Withheld
                                                                                                                                                        Dreier, Alexander <alexander.dreier@yale.edu>;
                                                                                                                                                        O'Connor, Eileen <eileen.oconnor@yale.edu>;
                                                                                                                                                        Spangler, Stephanie
                                                                                                                                                        <stephanie.spangler@yale.edu>; Sawyer, Susan
                                                 Microsoft 2007                                                                                         <susan.sawyer@yale.edu>; Conroy, Thomas
                                                 Word                                                                                                   <tom.conroy@yale.edu>; Carr, Cynthia
100 DOCID000014327                               Document         Draft outline             3/18/2016 Rose, Harold                                      <cynthia.carr@yale.edu>                          Privileged       Attorney work product withheld Withheld
                                                 RFC822 Email     Re: Confidential: wrong                                                               "Rose, Harold" <harold.rose@yale.edu>, "Conroy,                   Request for legal advice and legal
101 DOCID000014342   YALE00016626 YALE00016626   Message          headline                  3/14/2016 "David M. Post" <david.post@yale.edu>             Thomas" <tom.conroy@yale.edu>                    Privileged       advice redacted                    Redacted
                                                 RFC822 Email                                                                                           "Conroy, Thomas" <tom.conroy@yale.edu>,
102 DOCID000014343   YALE00016627 YALE00016627   Message          Re: wrong headline        3/14/2016 "David M. Post" <david.post@yale.edu>             "Rose, Harold" <harold.rose@yale.edu>            Privileged       Request for legal advice redacted Redacted
                                                 RFC822 Email     Confidential: wrong                                                                   "Conroy, Thomas" <tom.conroy@yale.edu>,                           Request for legal advice and legal
103 DOCID000014349   YALE00016628 YALE00016628   Message          headline                  3/14/2016 "Rose, Harold" <harold.rose@yale.edu>             "David M. Post" <david.post@yale.edu>            Privileged       advice redacted                    Redacted
                                                 RFC822 Email                                                                                           "Rose, Harold" <harold.rose@yale.edu>, "David M.
104 DOCID000014351   YALE00016629 YALE00016629   Message          wrong headline            3/14/2016 "Conroy, Thomas" <tom.conroy@yale.edu>            Post" <david.post@yale.edu>                      Privileged       Request for legal advice redacted Redacted
                                                                                                                                                        "Conroy, Thomas" <tom.conroy@yale.edu>,
                                                                                                                                                        "David M. Post" <david.post@yale.edu>,
                                                                                                                                                        "Spangler, Stephanie"
                                               RFC822 Email                                                                                             <stephanie.spangler@yale.edu>, "O'Connor,                         Request for legal advice and legal
105 DOCID000014418   YALE00016669 YALE00016670 Message            Re: UWC confidentiality    3/8/2016 "Sawyer, Susan" <susan.sawyer@yale.edu>           Eileen" <eileen.oconnor@yale.edu>,               Privileged       advice redacted                    Redacted
                                                                                                                                                        "Sawyer, Susan" <susan.sawyer@yale.edu>,
                                                                                                                                                        "David M. Post" <david.post@yale.edu>,
                                                                                                                                                        "Spangler, Stephanie"
                                               RFC822 Email                                                                                             <stephanie.spangler@yale.edu>, "O'Connor,                         Request for legal advice and legal
106 DOCID000014423   YALE00016671 YALE00016672 Message            Re: UWC confidentiality    3/8/2016 "Conroy, Thomas" <tom.conroy@yale.edu>            Eileen" <eileen.oconnor@yale.edu>,               Privileged       advice redacted                    Redacted
                                                                                                                                                        "Sawyer, Susan" <susan.sawyer@yale.edu>,
                                                                                                                                                        "Conroy, Thomas" <tom.conroy@yale.edu>,
                                                                                                                                                        "David M. Post" <david.post@yale.edu>,
                                                                                                                                                        "O'Connor, Eileen" <eileen.oconnor@yale.edu>,
                                               RFC822 Email                                           "Spangler, Stephanie"                             "Spangler, Stephanie"                                             Request for legal advice and legal
107 DOCID000014424   YALE00016673 YALE00016676 Message            RE: UWC confidentiality    3/8/2016 <stephanie.spangler@yale.edu>                     <stephanie.spangler@yale.edu>,                   Privileged       advice redacted                    Redacted
                                                                                                                                                        "Sawyer, Susan" <susan.sawyer@yale.edu>,
                                                                                                                                                        "David M. Post" <david.post@yale.edu>,
                                                                                                                                                        "Spangler, Stephanie"
                                               RFC822 Email                                                                                             <stephanie.spangler@yale.edu>, "O'Connor,
108 DOCID000014425   YALE00016677 YALE00016677 Message            UWC confidentiality        3/8/2016 "Conroy, Thomas" <tom.conroy@yale.edu>            Eileen" <eileen.oconnor@yale.edu>,               Privileged       Request for legal advice redacted Redacted
                                                                                                                                                        "Sawyer, Susan" <susan.sawyer@yale.edu>,
                                                                                                                                                        "Spangler, Stephanie"
                                                                                                                                                        <stephanie.spangler@yale.edu>, "Conroy,
                                                                                                                                                        Thomas" <tom.conroy@yale.edu>, "O'Connor,
                                               RFC822 Email                                                                                             Eileen" <eileen.oconnor@yale.edu>, "Dreier,                       Request for legal advice and legal
109 DOCID000014431   YALE00016680 YALE00016682 Message            Re: Jezebel                3/1/2016 "David M. Post" <david.post@yale.edu>             Alexander" <alexander.dreier@yale.edu>,          Privileged       advice redacted                    Redacted


                                                                                                                                                   "David M. Post" <david.post@yale.edu>, "Sawyer,
                                                                                                                                                   Susan" <susan.sawyer@yale.edu>, "Spangler,
                                                                                                                                                   Stephanie" <stephanie.spangler@yale.edu>,
                                               RFC822 Email                                                                                        "Conroy, Thomas" <tom.conroy@yale.edu>,                                Request for legal advice and legal
110 DOCID000014444   YALE00016686 YALE00016689 Message            Re: Jezebel                3/1/2016 "O'Connor, Eileen" <eileen.oconnor@yale.edu> "Dreier, Alexander" <alexander.dreier@yale.edu>, Privileged            advice redacted                    Redacted
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           A              B             C             D                       E            F                           G                                            H                                       I                   J                     K
                                                                                                                                            "David M. Post" <david.post@yale.edu>,
                                                                                                                                            "Spangler, Stephanie"
                                                                                                                                            <stephanie.spangler@yale.edu>, "Conroy,
                                                                                                                                            Thomas" <tom.conroy@yale.edu>, "O'Connor,
                                               RFC822 Email                                                                                 Eileen" <eileen.oconnor@yale.edu>, "Dreier,                         Request for legal advice and legal
111 DOCID000014445   YALE00016690 YALE00016692 Message         Re: Jezebel               3/1/2016 "Sawyer, Susan" <susan.sawyer@yale.edu>   Alexander" <alexander.dreier@yale.edu>,            Privileged       advice redacted                    Redacted
                                                                                                                                            "Sawyer, Susan" <susan.sawyer@yale.edu>,
                                                                                                                                            "Spangler, Stephanie"
                                                                                                                                            <stephanie.spangler@yale.edu>, "Conroy,
                                                                                                                                            Thomas" <tom.conroy@yale.edu>, "O'Connor,
                                               RFC822 Email                                                                                 Eileen" <eileen.oconnor@yale.edu>, "Dreier,                         Request for legal advice and legal
112 DOCID000014447   YALE00016693 YALE00016695 Message         Re: Jezebel               3/1/2016 "David M. Post" <david.post@yale.edu>     Alexander" <alexander.dreier@yale.edu>,            Privileged       advice redacted                    Redacted
                                                               Re: FW: Student                                                                                                                                  A/C communication regarding
                                                RFC822 Email   Account‐‐                                                                                                                                        deactivation of student account
113 DOCID000014448                              Message        CONFIDENTIAL              3/2/2016 "David M. Post" <david.post@yale.edu>     "Sawyer, Susan" <susan.sawyer@yale.edu>            Privileged       withheld                           Withheld
                                                               Re: Draft Reply to
                                                RFC822 Email   Montague‐‐Privileged                                                                                                                             Request for legal advice and legal
114 DOCID000014449                              Message        and Confidential          3/3/2016 "Sawyer, Susan" <susan.sawyer@yale.edu>   "David M. Post" <david.post@yale.edu>              Privileged       advice withheld                    Withheld
                                                               Re: Draft Reply to
                                                RFC822 Email   Montague‐‐Privileged                                                                                                                             Request for legal advice and legal
115 DOCID000014451                              Message        and Confidential          3/3/2016 "David M. Post" <david.post@yale.edu>     "Sawyer, Susan" <susan.sawyer@yale.edu>            Privileged       advice withheld                    Withheld
                                                Microsoft 2007
                                                Word
116 DOCID000014452                              Document       Draft letter              3/3/2016 Susan Sawyer                              David Post                                         Privileged       Attorney work product withheld    Withheld
                                                               Re: Draft Reply to
                                                RFC822 Email Montague‐‐Privileged                                                                                                                               Request for legal advice and legal
117 DOCID000014453                              Message        and Confidential          3/3/2016 "David M. Post" <david.post@yale.edu>     "Sawyer, Susan" <susan.sawyer@yale.edu>            Privileged       advice withheld                    Withheld
                                                Microsoft 2007
                                                Word
118 DOCID000014454                              Document       Draft letter              3/3/2016 Susan Sawyer                              David Post                                         Privileged       Attorney work product withheld    Withheld
                                                                                                                                                                                                                A/C communication regarding
                                                RFC822 Email   FW: Student Account‐‐                                                                                                                            deactivation of student account
119 DOCID000014455                              Message        CONFIDENTIAL              3/2/2016 "Sawyer, Susan" <susan.sawyer@yale.edu>   "David M. Post" <david.post@yale.edu>              Privileged       withheld                          Withheld
                                                               Draft Reply to
                                                RFC822 Email   Montague‐‐Privileged
120 DOCID000014456                              Message        and Confidential          3/3/2016 "Sawyer, Susan" <susan.sawyer@yale.edu>   "David M. Post" <david.post@yale.edu>              Privileged       Legal advice withheld             Withheld
                                                Microsoft 2007
                                                Word
121 DOCID000014457                              Document       Draft letter              3/3/2016 Susan Sawyer                              David Post                                         Privileged       Attorney work product withheld    Withheld
                                                                                                                                            "Boyd, Melanie" <melanie.boyd@yale.edu>,
                                                                                                                                            "Sawyer, Susan" <susan.sawyer@yale.edu>,
                                                                                                                                            "Conroy, Thomas" <tom.conroy@yale.edu>,
                                                                                                                                            "Killheffer, Jason" <jason.killheffer@yale.edu>,
                                                                                                                                            "Hendel, Caroline" <caroline.hendel@yale.edu>,
                                                                                                                                            "David M. Post" <david.post@yale.edu>,
                                                                                                                                            "O'Connor, Eileen" <eileen.oconnor@yale.edu>,
                                               RFC822 Email    RE: Jezebel.com inquiry            "Spangler, Stephanie"                     "Spangler, Stephanie"
122 DOCID000014458   YALE00016696 YALE00016697 Message         (urgent)                  3/1/2016 <stephanie.spangler@yale.edu>             <stephanie.spangler@yale.edu>,                     Privileged       Request for legal advice redacted Redacted
                                                                                                                                            "Boyd, Melanie" <melanie.boyd@yale.edu>,
                                                                                                                                            "Sawyer, Susan" <susan.sawyer@yale.edu>,
                                                                                                                                            "Conroy, Thomas" <tom.conroy@yale.edu>,
                                                                                                                                            "Killheffer, Jason" <jason.killheffer@yale.edu>,
                                                                                                                                            "Hendel, Caroline" <caroline.hendel@yale.edu>,
                                                                                                                                            "David M. Post" <david.post@yale.edu>,
                                                                                                                                            "O'Connor, Eileen" <eileen.oconnor@yale.edu>,
                                               Microsoft       RE: Jezebel.com inquiry            "Spangler, Stephanie"                     "Spangler, Stephanie"
123 DOCID000014459   YALE00016698 YALE00016699 Outlook Note    (urgent)                  3/1/2016 <stephanie.spangler@yale.edu>             <stephanie.spangler@yale.edu>,                     Privileged       Request for legal advice redacted Redacted
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                                                                Re: Draft Reply to
                                                RFC822 Email    Montague‐‐Privileged                                                                                                                                                             Request for legal advice and legal
124 DOCID000014466                              Message         and Confidential           3/3/2016 "David M. Post" <david.post@yale.edu>       "Sawyer, Susan" <susan.sawyer@yale.edu>                Privileged                                advice redacted                    Withheld
                                                                Re: Draft Reply to
                                                RFC822 Email    Montague‐‐Privileged                                                                                                                                                             Request for legal advice and legal
125 DOCID000014467                              Message         and Confidential           3/3/2016 "Sawyer, Susan" <susan.sawyer@yale.edu>     "David M. Post" <david.post@yale.edu>                  Privileged                                advice redacted                    Withheld


                                                                                                                                                "Holloway, Jonathan"
                                                                                                                                                <jonathan.holloway@yale.edu>, "Dreier,
                                                                                                                                                Alexander" <alexander.dreier@yale.edu>,
                                                                                                                                                "O'Connor, Eileen" <eileen.oconnor@yale.edu>,
                                                                                                                                                "Conroy, Thomas" <tom.conroy@yale.edu>,
                                                                                                                                                "Lizarribar, Camille" <camille.lizarribar@yale.edu>,
                                                                                                                                                "Howard, Burgwell"
                                               RFC822 Email                                                                                     <burgwell.howard@yale.edu>, "David M. Post"
126 DOCID000014474   YALE00016709 YALE00016710 Message          Re: Serious Concern       2/29/2016 "Sawyer, Susan" <susan.sawyer@yale.edu>     <david.post@yale.edu>,                                 Privileged                                Legal advice redacted                Redacted
                                               RFC822 Email                                                                                     "Sawyer, Susan" <susan.sawyer@yale.edu>,                                                         Request for legal advice and legal
127 DOCID000014491                             Message          Re: FW: Yale BB           2/27/2016 "David M. Post" <david.post@yale.edu>       "Menon, Alice" <aley.menon@yale.edu>                   Privileged                                advice withheld                      Withheld
                                               RFC822 Email                                                                                     "Sawyer, Susan" <susan.sawyer@yale.edu>,                                                         Request for legal advice and legal
128 DOCID000014492   YALE00016720 YALE00016725 Message          Re: Yale BB               2/27/2016 "David M. Post" <david.post@yale.edu>       "Menon, Alice" <aley.menon@yale.edu>                   Privileged                                advice redacted                      Redacted
                                               RFC822 Email                                                                                     "Sawyer, Susan" <susan.sawyer@yale.edu>,                                                         Request for legal advice and legal
129 DOCID000014493   YALE00016726 YALE00016729 Message          Re: Yale BB               2/27/2016 "David M. Post" <david.post@yale.edu>       "Menon, Alice" <aley.menon@yale.edu>                   Privileged                                advice redacted                      Redacted
                                               RFC822 Email                                                                                     "Sawyer, Susan" <susan.sawyer@yale.edu>,                                                         Request for legal advice and legal
130 DOCID000014494   YALE00016730 YALE00016732 Message          Re: FW: Yale BB           2/27/2016 "David M. Post" <david.post@yale.edu>       "Menon, Alice" <aley.menon@yale.edu>                   Privileged                                advice redacted                      Redacted
                                               RFC822 Email                                                                                     "Sawyer, Susan" <susan.sawyer@yale.edu>,
131 DOCID000014500   YALE00016733 YALE00016733 Message          Re: Fwd: Yale BB          2/26/2016 "David M. Post" <david.post@yale.edu>       "Menon, Alice" <aley.menon@yale.edu>                   Privileged                                Legal advice redacted              Redacted
                                               RFC822 Email                                                                                                                                                                                      Request for legal advice and legal
132 DOCID000014506   YALE00016735 YALE00016737 Message          FW: CONFIDENTIAL          2/23/2016 "Sawyer, Susan" <susan.sawyer@yale.edu>     "David M. Post" <david.post@yale.edu>                  Privileged                                advice redacted                    Redacted
                                               RFC822 Email
133 DOCID000014507   YALE00016738 YALE00016740 Message          Re: CONFIDENTIAL          2/23/2016 david.post@yale.edu                         "Sawyer, Susan" <susan.sawyer@yale.edu>                Privileged                                Legal advice redacted                Redacted
                                               RFC822 Email                                                                                     "Sawyer, Susan" <susan.sawyer@yale.edu>,                                                         Legal advice and attorney work
134 DOCID000014528   YALE00016744 YALE00016745 Message          Re: Montague               2/5/2016 "Menon, Alice" <aley.menon@yale.edu>        "David M. Post" <david.post@yale.edu>,                 Privileged                                product redacted                     Redacted
                                               RFC822 Email
135 DOCID000014540                             Message          Panel report              1/29/2016 "David M. Post" <david.post@yale.edu>       "Sawyer, Susan" <susan.sawyer@yale.edu>                Privileged                                Request for legal advice withheld Withheld
                                               Microsoft 2007
                                               Word                                                                                                                                                                                              Request for legal advice and
136 DOCID000014541                             Document         Draft panel report        1/29/2016 David Post with Susan Sawyer revisions      Susan Sawyer                                           Privileged                                attorney work product withheld       Withheld
                                               RFC822 Email
137 DOCID000014542                             Message          Panel report              1/26/2016 "David M. Post" <david.post@yale.edu>       "Sawyer, Susan" <susan.sawyer@yale.edu>                Privileged                                Request for legal advice withheld Withheld
                                               Microsoft 2007
                                               Word                                                                                                                                                    Privileged; FERPA; confidential student
138 DOCID000014543                             Document         Draft panel report        1/26/2016 David Post                                  Susan Sawyer                                           information                               Request for legal advice withheld Withheld
                                               Microsoft        FW: URGENT: Need                    "Spangler, Stephanie"                                                                                                                        Email conveying attorney work
139 DOCID000016662                             Outlook Note     your approval             3/18/2016 <stephanie.spangler@yale.edu>               Aley Menon, David Post                                 Privileged                                product withheld                  Withheld
                                               Microsoft 2007
                                               Word
140 DOCID000016663                             Document         Draft letter              3/18/2016 Eileen O'Connor with Harold Rose comments   Aley Menon, David Post                                 Privileged                                Attorney work product withheld       Withheld
                                                                Re: Draft Reply to
                                               RFC822 Email     Montague‐‐Privileged                                                                                                                                                             Request for legal advice and legal
141 DOCID000017105                             Message          and Confidential           3/3/2016 "David M. Post" <david.post@yale.edu>       "Sawyer, Susan" <susan.sawyer@yale.edu>         Privileged                                       advice redacted                    Withheld
                                               RFC822 Email                                                                                     "Conroy, Thomas" <tom.conroy@yale.edu>,
142 DOCID000017110   YALE00016773 YALE00016773 Message          Re: wrong headline        3/14/2016 "David M. Post" <david.post@yale.edu>       "Rose, Harold" <harold.rose@yale.edu>           Privileged                                       Request for legal advice redacted Redacted
                                               RFC822 Email     Re: Confidential: wrong                                                         "Rose, Harold" <harold.rose@yale.edu>, "Conroy,                                                  Request for legal advice and legal
143 DOCID000017111   YALE00016774 YALE00016774 Message          headline                  3/14/2016 "David M. Post" <david.post@yale.edu>       Thomas" <tom.conroy@yale.edu>                   Privileged                                       advice redacted                    Redacted
                                                                Re: FW: Student                                                                                                                                                                  A/C communication regarding
                                                RFC822 Email    Account‐‐                                                                                                                                                                        deactivation of student account
144 DOCID000017112                              Message         CONFIDENTIAL               3/2/2016 "David M. Post" <david.post@yale.edu>       "Sawyer, Susan" <susan.sawyer@yale.edu>                Privileged                                withheld                           Withheld
                                                            Case 3:16-cv-00885-AVC Document 89-2 Filed 05/16/17 Page 11 of 13

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                                                                 Re: Confidential:
                                                 RFC822 Email    Important Legal                                                                                                                               A/C communication re document
145 DOCID000017115                               Message         Information            3/16/2016 "David M. Post" <david.post@yale.edu>    "Rose, Harold" <harold.rose@yale.edu>              Privileged       preservation withheld         Withheld

                                                                                                                                                                                                               A/C communication re document
                                               Microsoft Excel                                                                                                                                                 preservation and attorney work
146 DOCID000017116                             Spreadsheet       OGC computer survey    3/16/2016 David Post on OGC form                   Harold Rose                                    Privileged           product withheld               Withheld
                                               RFC822 Email      Recommendation in                                                         "Menon, Alice" <aley.menon@yale.edu>, "Sawyer,
147 DOCID000017253                             Message           panel report           1/28/2016 "David M. Post" <david.post@yale.edu>    Susan" <susan.sawyer@yale.edu>                 Privileged           Request for legal advice withheld Withheld
                                               RFC822 Email      Recommendation in                                                         "Menon, Alice" <aley.menon@yale.edu>, "Sawyer,
148 DOCID000017254                             Message           panel report           1/28/2016 "David M. Post" <david.post@yale.edu>    Susan" <susan.sawyer@yale.edu>                 Privileged           Request for legal advice withheld Withheld
                                               RFC822 Email
149 DOCID000017255                             Message           Panel report           1/29/2016 "David M. Post" <david.post@yale.edu>    "Sawyer, Susan" <susan.sawyer@yale.edu>            Privileged       Request for legal advice withheld Withheld
                                               Microsoft 2007
                                               Word                                                                                                                                                            Request for legal advice and
150 DOCID000017256                             Document          Draft panel report     1/29/2016 David Post with Susan Sawyer revisions   Susan Sawyer                                       Privileged       attorney work product withheld       Withheld
                                               RFC822 Email
151 DOCID000017257                             Message           Panel report           1/29/2016 "David M. Post" <david.post@yale.edu>    "Sawyer, Susan" <susan.sawyer@yale.edu>            Privileged       Request for legal advice withheld Withheld
                                               Microsoft 2007
                                               Word                                                                                                                                                            Request for legal advice and
152 DOCID000017258                             Document          Draft panel report     1/29/2016 David Post with Susan Sawyer revisions   Susan Sawyer                                       Privileged       attorney work product withheld       Withheld
                                               RFC822 Email                                                                                "Sawyer, Susan" <susan.sawyer@yale.edu>,                            Request for legal advice and legal
153 DOCID000017266   YALE00016801 YALE00016803 Message           Re: FW: Yale BB        2/27/2016 "David M. Post" <david.post@yale.edu>    "Menon, Alice" <aley.menon@yale.edu>               Privileged       advice redacted                      Redacted
                                               RFC822 Email                                                                                "Sawyer, Susan" <susan.sawyer@yale.edu>,                            Request for legal advice and legal
154 DOCID000017267   YALE00016804 YALE00016806 Message           Re: FW: Yale BB        2/27/2016 "David M. Post" <david.post@yale.edu>    "Menon, Alice" <aley.menon@yale.edu>               Privileged       advice redacted                      Redacted
                                               RFC822 Email                                                                                "Sawyer, Susan" <susan.sawyer@yale.edu>,                            Request for legal advice and legal
155 DOCID000017268   YALE00016807 YALE00016809 Message           Re: FW: Yale BB        2/27/2016 "David M. Post" <david.post@yale.edu>    "Menon, Alice" <aley.menon@yale.edu>               Privileged       advice redacted                      Redacted
                                                                                                                                           "Sawyer, Susan" <susan.sawyer@yale.edu>,
                                                                                                                                           "Spangler, Stephanie"
                                                                                                                                           <stephanie.spangler@yale.edu>, "Conroy,
                                                                                                                                           Thomas" <tom.conroy@yale.edu>, "O'Connor,
                                               RFC822 Email                                                                                Eileen" <eileen.oconnor@yale.edu>, "Dreier,                         Request for legal advice and legal
156 DOCID000017275   YALE00016814 YALE00016816 Message           Re: Jezebel             3/1/2016 "David M. Post" <david.post@yale.edu>    Alexander" <alexander.dreier@yale.edu>,            Privileged       advice redacted                    Redacted
                                                                 Re: Draft Reply to
                                                 RFC822 Email    Montague‐‐Privileged                                                                                                                          Request for legal advice and legal
157 DOCID000017278                               Message         and Confidential        3/3/2016 "David M. Post" <david.post@yale.edu>    "Sawyer, Susan" <susan.sawyer@yale.edu>            Privileged       advice withheld                    Withheld
                                                                 Re: Draft Reply to
                                                 RFC822 Email    Montague‐‐Privileged                                                                                                                          Request for legal advice and legal
158 DOCID000017279                               Message         and Confidential        3/3/2016 "David M. Post" <david.post@yale.edu>    "Sawyer, Susan" <susan.sawyer@yale.edu>            Privileged       advice withheld                    Withheld
                                                                 Re: Draft Reply to
                                                 RFC822 Email    Montague‐‐Privileged                                                                                                                          Request for legal advice and legal
159 DOCID000017280                               Message         and Confidential        3/3/2016 "David M. Post" <david.post@yale.edu>    "Sawyer, Susan" <susan.sawyer@yale.edu>            Privileged       advice withheld                    Withheld
                                                 Microsoft 2007
                                                 Word                                                                                                                                                          Request for legal advice and
160 DOCID000017281                               Document       Draft letter             3/3/2016 Susan Sawyer                             David Post                                         Privileged       attorney work product withheld       Withheld
                                                                                                                                           "Sawyer, Susan" <susan.sawyer@yale.edu>,
                                                                                                                                           "Killheffer, Jason" <jason.killheffer@yale.edu>,
                                                 RFC822 Email                                                                              "Spangler, Stephanie"                                               Request for legal advice and legal
161 DOCID000017323                               Message         Re: CNN article        3/10/2016 "David M. Post" <david.post@yale.edu>    <stephanie.spangler@yale.edu>,                     Privileged       advice re CNN article withheld     Withheld
                                                                                                                                           "Sawyer, Susan" <susan.sawyer@yale.edu>,
                                                                                                                                           "Killheffer, Jason" <jason.killheffer@yale.edu>,
                                                 RFC822 Email                                                                              "Spangler, Stephanie"                                               Request for legal advice and legal
162 DOCID000017324                               Message         Re: CNN article        3/10/2016 "David M. Post" <david.post@yale.edu>    <stephanie.spangler@yale.edu>,                   Privileged         advice re CNN article withheld     Withheld
                                                                                                                                           "Rose, Harold" <harold.rose@yale.edu>, "Menon,
                                               RFC822 Email                                                                                Alice" <aley.menon@yale.edu>, "Sawyer, Susan"                       Legal advice and attorney work
163 DOCID000017347   YALE00016861 YALE00016863 Message           Re: FW: YDN Inquiry    3/15/2016 "David M. Post" <david.post@yale.edu>    <susan.sawyer@yale.edu>                          Privileged         product redacted                     Redacted
                                                                                                                                           "Rose, Harold" <harold.rose@yale.edu>, "Menon,                      Request for legal advice, legal
                                               RFC822 Email                                                                                Alice" <aley.menon@yale.edu>, "Sawyer, Susan"                       advice, and attorney work product
164 DOCID000017348   YALE00016864 YALE00016866 Message           Re: FW: YDN Inquiry    3/15/2016 "David M. Post" <david.post@yale.edu>    <susan.sawyer@yale.edu>                        Privileged           redacted                          Redacted
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           A               B            C             D                         E            F                             G                                        H                                              I                                   J                     K
                                                                                                                                              "Rose, Harold" <harold.rose@yale.edu>, "Menon,                                           Request for legal advice, legal
                                               RFC822 Email                                                                                   Alice" <aley.menon@yale.edu>, "Sawyer, Susan"                                            advice, and attorney work product
165 DOCID000017349   YALE00016867 YALE00016869 Message           Re: FW: YDN Inquiry      3/15/2016 "David M. Post" <david.post@yale.edu>     <susan.sawyer@yale.edu>                        Privileged                                redacted                          Redacted

                                                                                                                                              "Rose, Harold" <harold.rose@yale.edu>, "Menon,
                                                                                                                                              Alice" <aley.menon@yale.edu>, "Spangler,
                                                RFC822 Email     Re: FW: Privileged and                                                       Stephanie" <stephanie.spangler@yale.edu>,                                                Request for legal advice and legal
166 DOCID000017350                              Message          Confidential             3/19/2016 "David M. Post" <david.post@yale.edu>     "Sawyer, Susan" <susan.sawyer@yale.edu>        Privileged                                advice withheld                    Withheld

                                                                                                                                              "Rose, Harold" <harold.rose@yale.edu>, "Menon,
                                                                                                                                              Alice" <aley.menon@yale.edu>, "Spangler,
                                                RFC822 Email     Re: FW: Privileged and                                                       Stephanie" <stephanie.spangler@yale.edu>,                                                Request for legal advice and legal
167 DOCID000017351                              Message          Confidential             3/19/2016 "David M. Post" <david.post@yale.edu>     "Sawyer, Susan" <susan.sawyer@yale.edu>        Privileged                                advice withheld                    Withheld

                                                                                                                                              "Rose, Harold" <harold.rose@yale.edu>, "Menon,
                                                                                                                                              Alice" <aley.menon@yale.edu>, "Spangler,
                                                RFC822 Email     Re: FW: Privileged and                                                       Stephanie" <stephanie.spangler@yale.edu>,                                                Request for legal advice and legal
168 DOCID000017352                              Message          Confidential             3/19/2016 "David M. Post" <david.post@yale.edu>     "Sawyer, Susan" <susan.sawyer@yale.edu>        Privileged                                advice withheld                    Withheld
                                                                                                                                              "Sawyer, Susan" <susan.sawyer@yale.edu>,
                                                                                                                                              "Spangler, Stephanie"
                                                                                                                                              <stephanie.spangler@yale.edu>, "Conroy,
                                                                                                                                              Thomas" <tom.conroy@yale.edu>, "O'Connor,
                                               RFC822 Email                                                                                   Eileen" <eileen.oconnor@yale.edu>, "Dreier,                                              Request for legal advice and legal
169 DOCID000017404   YALE00016872 YALE00016874 Message           Re: Jezebel               3/1/2016 "David M. Post" <david.post@yale.edu>     Alexander" <alexander.dreier@yale.edu>,        Privileged                                advice redacted                    Redacted
                                                                 Re: Draft Reply to
                                                RFC822 Email     Montague‐‐Privileged                                                                                                                                                  Request for legal advice and legal
170 DOCID000017405                              Message          and Confidential          3/3/2016 "David M. Post" <david.post@yale.edu>     "Sawyer, Susan" <susan.sawyer@yale.edu>        Privileged                                advice withheld                    Withheld
                                                Microsoft 2007
                                                Word
171 DOCID000017406                              Document       Draft letter                3/3/2016 Susan Sawyer with David Post comments     Susan Sawyer                                   Privileged                                Attorney work product withheld    Withheld
                                                               Re: Draft Reply to
                                                RFC822 Email Montague‐‐Privileged                                                                                                                                                      Request for legal advice and legal
172 DOCID000017407                              Message        and Confidential            3/3/2016 "David M. Post" <david.post@yale.edu>     "Sawyer, Susan" <susan.sawyer@yale.edu>        Privileged                                advice withheld                    Withheld
                                                Microsoft 2007
                                                Word
173 DOCID000017408                              Document         Draft letter              3/3/2016 Susan Sawyer with David Post comments     Susan Sawyer                                   Privileged                                Attorney work product withheld Withheld
                                                RFC822 Email                                                                                                                                                                           Request for legal advice and legal
174 DOCID000017480                              Message          Re: Panel report         1/26/2016 "Sawyer, Susan" <susan.sawyer@yale.edu>   "David M. Post" <david.post@yale.edu>          Privileged                                advice withheld                    Withheld
                                                Microsoft 2007
                                                Word                                                                                                                                         Privileged; FERPA; confidential student
175 DOCID000017481                              Document         Draft panel report       1/26/2016 David Post with Susan Sawyer revisions    David Post                                     information                               Attorney work product withheld    Withheld
                                                RFC822 Email
176 DOCID000017482                              Message          Re: Panel report         1/29/2016 "Sawyer, Susan" <susan.sawyer@yale.edu>   "David M. Post" <david.post@yale.edu>          Privileged                                Request for legal advice withheld Withheld
                                                Microsoft 2007
                                                Word
177 DOCID000017483                              Document         Draft panel report       1/29/2016 David Post with Susan Sawyer revisions    David Post                                     Privileged                                Attorney work product withheld    Withheld

                                                Microsoft Excel                                                                                                                                                                        A/C communication re document
178 DOCID000017709                              Spreadsheet     OGC computer survey       3/16/2016 David Post on OGC form                    n/a                                            Privileged                                preservation withheld         Withheld
                                                                                                                                                                                                                                       Forwarded therapist‐patient
                                                                 [Conversation with                                                                                                                                                    privileged communication
                                                RFC822 Email     Jennifer] Fwd: Meeting                                                                                                      Privileged; FERPA; confidential student   between REDACTED
179 DOCID000017795                              Message          Last Wednesday           11/30/2015 REDACTED                                 Miriam Berkman <mberkman900@gmail.com>         information                                         withheld                Withheld
                                                                                                                                                                                                                                       Request for legal advice, legal
                                               RFC822 Email                                                                                                                                                                            advice, and attorney work product
180 DOCID000017857   YALE00016886 YALE00016887 Message           Re: draft report          1/8/2016 Miriam Berkman <mberkman900@gmail.com> "Sawyer, Susan" <susan.sawyer@yale.edu>           Privileged                                redacted                          Redacted
                                                           Case 3:16-cv-00885-AVC Document 89-2 Filed 05/16/17 Page 13 of 13

           A               B             C             D                   E                 F                           G                                            H                                      I                   J                    K

                                                                FW: Correcting:
                                                 RFC822 Email   Confidential: Important             "Berkman, Miriam"                                                                                            Forwarded A/C communication re
181 DOCID000017870                               Message        Legal Information         4/13/2016 <miriam.berkman@yale.edu>                  mberkman900@gmail.com                            Privileged       document preservation withheld Withheld

                                                                Fwd: FW: Correcting:
                                                 RFC822 Email   Confidential: Important                                                                                                                          A/C communication re document
182 DOCID000017871                               Message        Legal Information         4/13/2016 Miriam Berkman <mberkman900@gmail.com> harold.rose@yale.edu                                 Privileged       preservation withheld         Withheld

                                                 Microsoft Excel                                                                                                                                                 A/C communication re document
183 DOCID000017872                               Spreadsheet     OGC computer survey      4/13/2016 Miriam Berkman on OGC form                 Harold Rose                                      Privileged       preservation withheld         Withheld

                                                                RE: FW: Correcting:
                                                 RFC822 Email   Confidential: Important                                                                                                                          A/C communication re document
184 DOCID000017873                               Message        Legal Information         4/13/2016 "Rose, Harold" <harold.rose@yale.edu>      Miriam Berkman <mberkman900@gmail.com>           Privileged       preservation withheld         Withheld

                                                                RE: FW: Correcting:
                                                 RFC822 Email   Confidential: Important                                                                                                                          A/C communication re document
185 DOCID000017874                               Message        Legal Information         4/13/2016 "Rose, Harold" <harold.rose@yale.edu>      Miriam Berkman <mberkman900@gmail.com>           Privileged       preservation withheld         Withheld


                                                                                                                                               "Berkman, Miriam" <miriam.berkman@yale.edu>,
                                                                                                                                               sarah.demerskonezny@yale.edu, "Mayes, John"
                                                                Correcting:                                                                    <john.mayes@yale.edu>, "Spangler, Stephanie"
                                                 Microsoft      Confidential: Important                                                        <stephanie.spangler@yale.edu>, "Cooper, Harriet"                  A/C communication re document
186 DOCID000018394                               Outlook Note   Legal Information         4/13/2016 "Rose, Harold" <harold.rose@yale.edu>      <harriet.cooper@yale.edu>,                       Privileged       preservation withheld         Withheld


                                                                                                                                               "Berkman, Miriam" <miriam.berkman@yale.edu>,
                                                                                                                                               sarah.demerskonezny@yale.edu, "Mayes, John"
                                                                                                                                               <john.mayes@yale.edu>, "Spangler, Stephanie"
                                                 Microsoft      Confidential: Important                                                        <stephanie.spangler@yale.edu>, "Cooper, Harriet"                  A/C communication re document
187 DOCID000018395                               Outlook Note   Legal Information         4/13/2016 "Rose, Harold" <harold.rose@yale.edu>      <harriet.cooper@yale.edu>,                       Privileged       preservation withheld         Withheld

                                                                                                                                               "Berkman, Miriam" <miriam.berkman@yale.edu>,
                                                                                                                                               sarah.demerskonezny@yale.edu, "Mayes, John"
                                                                                                                                               <john.mayes@yale.edu>, "Spangler, Stephanie"
                                                 Microsoft Excel                                                                               <stephanie.spangler@yale.edu>, "Cooper, Harriet"                  A/C communication re document
188 DOCID000018396                               Spreadsheet     OGC computer survey      4/13/2016 Harold Rose                                <harriet.cooper@yale.edu>,                       Privileged       preservation withheld         Withheld

                                                                                                    "Berkman, Miriam" <"/o=yale
                                                                FW: Correcting:                     university/ou=exchange administrative group
                                                Microsoft       Confidential: Important             (fydibohf23spdlt)/cn=recipients/cn=miriam.berk                                                               Forwarded A/C communication re
189 DOCID000018773                              Outlook Note    Legal Information         4/13/2016 man">                                          Miriam Berkman <mberkman900@gmail.com>       Privileged       document preservation withheld Withheld
                                                Portable                                                                                                                                                         Comunication between client and
                                                Document      Miriam Berkman's                                                                                                                                   lawyer re UWC II proceeding
190 DOCID000018939                              Format        handwritten notes      Various     Miriam Berkman                                n/a                                              Privileged       redacted                        Redacted
                                                Chat          Text messages re Men's
191 MOBILE000008547   YALE00016892 YALE00016892 Conversation  BB team                  2/26/2016 Aley Menon, Susan Sawyer, David Post          Aley Menon, Susan Sawyer, David Post             Privileged       Legal advice redacted            Redacted
                                                              Text messages re Men's
192 MOBILE000008554                              Chat Message BB team                  2/26/2016 David Post                                    Aley Menon, Susan Sawyer                         Privileged       Request for legal advice withheld Withheld
